                                          Case 4:18-cv-06810-JST Document 148 Filed 05/12/23 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     EAST BAY SANCTUARY COVENANT,                       Case No. 18-cv-06810-JST
                                         et al.,
                                   8                    Plaintiffs,                         ORDER SETTING CASE
                                   9                                                        MANAGEMENT CONFERENCE
                                                  v.
                                  10                                                        Re: ECF No. 147
                                         DONALD J. TRUMP, et al.,
                                  11                    Defendants.
                                  12
Northern District of California
 United States District Court




                                  13           Plaintiffs have moved to lift the stay in this case and seek leave to file an amended and

                                  14   supplemental complaint. ECF No. 147. Plaintiffs also intend to move for preliminary relief. Id.

                                  15   at 3.

                                  16           The parties shall appear for a case management conference on Tuesday, May 16, 2023, at

                                  17   9 a.m. to discuss a schedule for briefing and hearing on both the present motion and Plaintiffs’

                                  18   intended motion for preliminary injunctive relief. The parties are advised that the Court will be

                                  19   unavailable on May 26, 2023, as well as June 2 through June 16, 2023.

                                  20           IT IS SO ORDERED.

                                  21   Dated: May 12, 2023
                                                                                        ______________________________________
                                  22
                                                                                                      JON S. TIGAR
                                  23                                                            United States District Judge

                                  24

                                  25

                                  26

                                  27

                                  28
